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UNITED STATES DISTRICT COURT | °! ICT oF VERMONT

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DISTRICT OF VERMONT 2004 Bite 2 7
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V. ) CIVIL ACTION NOp te0a=€ 53. AM)

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DAIMLERCHRYSLER )
MOTORS COMPANY, LLC, )
PERFORMANCE MARKETING, )
INC., DAVID CICOTTE, )
MECHANICS JOHN DOES 1-4 )

ANSWER OF DAIMLERCHRYSLER

First Defense

Defendant DaimlerChrysler Corporation (erroneously named in the caption)
(“DaimlerChrysler”) responds to the allegations of the First Amended Complaint as follows:

All allegations of the first unnumbered paragraphs are denied.

Plaintiff

1. DaimlerChrysler does not currently have sufficient knowledge or information
upon which to form a belief as to the truth of the allegations of paragraph 1 and denies the
allegations on that basis (hereinafter “Insufficient information’).

Defendants

2. Admitted that DaimlerChrysler markets Dodge Dakotas and Durango.
Otherwise denied.

3-5. Insufficient information.

6-9. Legal Arguments, not statements of fact; no answer required. Alternatively,

as

denied (hereinafter “Legal Argument.”)

10. Denied.

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11. Denied.
12. Legal Argument.
Facts
13. Admitted.
14. Insufficient information.
15. —_ Legal Argument.
16. Admitted.
17. 2003 Dodge Dakotas were sold with express limited warranties. Otherwise,
Legal Argument.
18-21. Denied.
22-37. Insufficient information.
38. First sentence: Legal Argument. Second sentence: Denied.
39-41. Denied.
42-43. Legal Argument.
44-45. Denied.
46-48. Insufficient information.
49. Denied.
Count I: Gross Negligence
50. DaimlerChrysler repeats and incorporates its responses to paragraphs 12-49.
51-55. Denied.
Count If: Breach of Implied Warranty
56. DaimlerChrysler repeats and incorporates its responses to paragraphs 12-49.
57. Legal Argument.

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58-59. Insufficient information.
60. Admitted.

61-62. Insufficient information.
63. Legal Argument.

64. Denied.

Count HI: Breach of Express Warranty

65. DaimlerChrysler repeats and incorporates its responses to paragraphs 12-49.
66-67. Legal Argument.
68. Denied.

Count IV: Negligence

69. DaimlerChrysler repeats and incorporates its responses to paragraphs 12-49.

70-73. The allegations of these paragraphs do not appear to be made against
DaimlerChrysler, so no answer required. Alternatively, Insufficient information.

74. — Denied.

Count V: RICO/Performance

75. DaimlerChrysler repeats and incorporates its responses to paragraphs 12-49.
76-79. The allegations of these paragraphs do not appear to be made against
DaimlerChrysler, so no answer required. Alternatively, Insufficient information.

Count VI: RICO/Cicotte

80. DaimlerChrysler repeats and incorporates its responses to paragraphs 12-49.
81-83. The allegations of these paragraphs do not appear to be made against
DaimlerChrysler, so no answer required. Alternatively, Insufficient information.

Second Defense

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The amended Complaint fails to state a claim against DaimlerChrysler within the
jurisdiction of the United States District Court.

Third Defense

Plaintiff lacks standing to seek injunctive relief against DaimlerChrysler.

Fourth Defense

The Amended Complaint fails to state a claim for injunctive relief against
DaimlerChrysler.
Fifth Defense
The Amended Complaint fails to state a claim for attorney fees.
Sixth Defense
The Amended Complaint fails to state a claim for punitive damages.
WHEREFORE, DaimlerChrysler demands judgment in its favor, together with taxable
costs.

Dated: July 30, 2004.

PIERSON WADHAMS QUINN YATES & COFFRIN
Attorney for Defendant DaimlerChrysler

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William H. Quinn, Esq.

cc: Scott Traudt, Pro Se
John Paul Faignant, Esq.

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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF VERMONT

SCOTT TRAUDT )
)

v. ) CIVIL ACTION NO.: 1:04-CV-53
)
DAIMLERCHRYSLER )
MOTORS COMPANY, LLC, )
PERFORMANCE MARKETING, )
INC., DAVID CICOTTE, )
MECHANICS JOHN DOES 1-4 )

CERTIFICATE Of SERVICE

On July Zo 2004, the undersigned caused to be served a copy of Answer of
DaimlerChrysler upon the following persons by depositing a copy of same in the United States

Mail, postage prepaid:

Scott Traudt, Pro Se John Paul Faignant, Esq.
191 Kibling Hill Road Miller Faignant & Behrens
Strafford, VT 05072 P.O. Box 6688

Rutland, VT 05702-1509
Date: July So. 2004.

PIERSON WADHAMS QUINN YATES & COFFRIN

Attorneys for Defendant DaimlerChrysler
By: Lf...

William H. Quinn, Esq.

